USCA Case #22-1015    Document #2008338              Filed: 07/18/2023      Page 1 of 31




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued January 19, 2023                Decided July 18, 2023

                                    No. 22-1015

              WYNNEWOOD REFINING COMPANY, LLC AND COFFEYVILLE
                   RESOURCES REFINING & MARKETING, LLC,
                                PETITIONERS

                                         v.

                      ENVIRONMENTAL PROTECTION AGENCY,
                                RESPONDENT



                        Consolidated with 22-1051, 22-1053


                      On Petitions for Review of a Final Action
                       of the Environmental Protection Agency



                 Michael R. Huston argued the cause for petitioners. On
            the briefs were Ian S. Shelton, Jonathan G. Hardin, Alexandra
            Magill Bromer, Eric B. Wolff, and Karl J. Worsham.

                Jeffrey Hughes, Attorney, U.S. Department of Justice,
            argued the cause for respondent. With him on the brief was
            Todd Kim, Assistant Attorney General.
USCA Case #22-1015     Document #2008338              Filed: 07/18/2023       Page 2 of 31




                                          2
                Before: SRINIVASAN, Chief Judge, PILLARD, Circuit
            Judge, and RANDOLPH, Senior Circuit Judge.

                Opinion for the Court filed by Circuit Judge PILLARD.

                Opinion concurring in the judgment filed by Senior
            Circuit Judge RANDOLPH.

                 PILLARD, Circuit Judge: The Renewable Fuel Standard
            Program codified in the Clean Air Act requires all
            transportation fuel sold in the United States to contain an
            annually determined volume of renewable fuel. As part of its
            role in implementing the Program, the Environmental
            Protection Agency (EPA) issues renewable fuel standards
            announcing the annual quantity of renewables that must be sold
            into United States commerce. The standards apply to the
            businesses—refiners        and     importers—that    introduce
            transportation fuels into the United States economy. To ensure
            timely promulgation, Congress set annual deadlines in the Act
            for the agency’s publication of those standards.

                 EPA has not always met those deadlines. We have already
            considered challenges to EPA’s belated issuance of renewable
            fuel standards on three other occasions. In each case we upheld
            EPA’s authority, provided that the agency reasonably
            mitigated delay-related harm to obligated parties. Extending
            obligated parties’ compliance deadlines has been a typical,
            approved form of mitigation.

                 EPA failed to meet its deadlines to publish the 2020-2022
            renewable fuel standards. As part of its mitigation, EPA issued
            a rule extending the corresponding compliance reporting
            deadlines. The leeway provided in that Extension Rule ensures
            that obligated parties will not have to file compliance reports
            for 2020-2022 until after EPA has published the standards for
USCA Case #22-1015     Document #2008338                 Filed: 07/18/2023       Page 3 of 31




                                            3
            those years. To get the Program back on track, the Rule
            compresses the intervals between the 2020, 2021, and 2022
            compliance deadlines, leaving obligated parties less time
            between compliance filings than they have had in the past. The
            Rule also establishes a new compliance schedule for 2023 and
            later years. In these consolidated petitions, a group of fuel
            refineries (the Refineries) challenge the Extension Rule. They
            argue that the Rule violates the Clean Air Act, or is at least
            arbitrary and capricious, insofar as it provides obligated parties
            less than 13 months’ compliance lead time (i.e., time from
            EPA’s announcement of the relevant standard to the reporting
            deadline), and compliance intervals (i.e., time between
            reporting deadlines for successive compliance years) shorter
            than 12 months.

                 We deny the petitions for review. When EPA fails to
            timely issue renewable fuel standards, the Clean Air Act does
            not bind the agency to provide obligated parties a minimum of
            13 months’ compliance lead time, nor does it require
            compliance intervals of at least 12 months. We likewise reject
            the Refineries’ claim that EPA acted arbitrarily and
            capriciously in setting the compliance schedule in the Rule.
            Rather, the agency reasonably exercised its authority to
            establish the compliance timeframe for the Renewable Fuel
            Standard Program under the circumstances.

                                            I.

                                           A.

                 Congress established the Renewable Fuel Standard
            Program (RFS Program or Program) in 2005 as part of a suite
            of changes to the Clean Air Act (CAA or Act). Energy Policy
            Act of 2005, Pub. L. No. 109-58, 119 Stat. 594; Energy
            Independence and Security Act of 2007, Pub. L. No. 110-140,
            §§ 201-202, 121 Stat. 1492, 1519-28 (codified at 42 U.S.C.
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 4 of 31




                                           4
            § 7545(o)) (amending the RFS Program provisions). The
            Program sets requirements for the volume of renewable fuel
            that our domestic transportation fuel supply must contain each
            year. See 42 U.S.C. § 7545(o)(2)(A), (B). In enacting the
            Program, Congress sought “[t]o move the United States toward
            greater energy independence and security” and “increase the
            production of clean renewable fuels” by imposing a volume
            requirement to stimulate demand for the renewables. Energy
            Independence and Security Act, preamble, 121 Stat. at 1492.

                 The Act vests EPA with primary responsibility for
            implementing the Program. It charges EPA with issuing
            regulations “to ensure that transportation fuel sold or
            introduced into commerce in the United States,” excluding the
            noncontiguous states and territories, contains at least a
            specified volume of renewable fuel for each year. 42 U.S.C.
            § 7545(o)(2)(A)(i). The Act prescribes annual volumes for
            four categories of fuel: total renewable fuel, advanced biofuel,
            cellulosic biofuel, and biomass-based diesel.                Id.
            § 7545(o)(2)(A)(i). For the years 2005 through 2022,
            Congress set forth the “applicable volume” (i.e., the minimum
            volume) of total renewable fuel, advanced biofuel, and
            cellulosic biofuel; for the years after 2022, the Act requires
            EPA to set those volumes by rule. See id. § 7545(o)(2)(B)(i),
            (B)(ii). As for biomass-based diesel, Congress prescribed the
            applicable volumes for 2005 through 2012 and instructed EPA
            to set the annual applicable volume by rule for 2013 and
            beyond. See id.

                 To ensure the Program’s renewable fuel volume
            requirements are met, EPA translates the applicable volumes
            for each category of fuel for a given year into standards that
            regulated parties must meet. Id. § 7545(o)(3)(B). EPA
            calculates those standards by dividing the applicable volume
            for each renewable fuel type by an estimate of the national
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 5 of 31




                                           5
            volume of gasoline and diesel that the U.S. market will
            consume that year, subject to certain adjustments. See id.
            § 7545(o)(3)(A), (B)(i); 40 C.F.R. § 80.1405(c). The resulting
            percentages inform obligated parties how much of their fuel
            production must consist of renewable fuels. See Monroe
            Energy, LLC v. EPA, 750 F.3d 909, 912 (D.C. Cir. 2014)
            (citing 40 C.F.R. § 80.1405(c)). To use a simple example, if
            the applicable volume for a year is 15 billion gallons, and EPA
            estimates that the national volume of transportation fuel
            consumption for the year is 100 billion gallons, the applicable
            percentage will be 15 percent. Id. In that year, obligated
            parties must ensure that, for every gallon of nonrenewable fuel
            they produce or import, they introduce an additional 15 percent
            of that amount (0.15 gallons) of renewable fuel into the United
            States’ fuel supply. See id.

                 The Act establishes an annual deadline by which EPA
            must publish the percentage standards for the upcoming year
            through 2022. For the renewable fuel categories relevant here,
            EPA must publish them by November 30 of the preceding
            calendar year—i.e., one month before the year in which the
            standards will apply. 42 U.S.C. § 7545(o)(3)(B)(i). After
            2022, the Act prescribes no deadline for when EPA must
            publish the percentage standards. Id. § 7545(o)(2)(B)(i), (ii).
            Instead, for 2023 and later years, the statute sets an annual
            deadline for EPA to publish the applicable volumes of
            renewable fuel (as distinct from the percentage standards). Id.
            § 7545(o)(2)(B)(ii). For those years, the Act directs EPA to
            publish the applicable volumes “no later than 14 months before
            the first year for which such applicable volume will apply.” Id.

                The Act does not set compliance deadlines. Instead, the
            CAA empowers EPA to promulgate regulations that “contain
            compliance provisions” to “ensure” the annual renewable fuel
            volumes are met. Id. § 7545(o)(2)(A)(iii). Existing EPA rules
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 6 of 31




                                           6
            require obligated parties to submit compliance reports on an
            annual basis demonstrating that they have met a given year’s
            standards. 40 C.F.R. § 80.1451(f)(1).

                 Two components of the compliance framework
            established by EPA bear particular relevance here. First, what
            we call “compliance lead time” is the period between EPA’s
            announcement of a renewable fuel standard and the relevant
            compliance reporting deadline. So, if EPA were to announce
            the 2020 renewable fuel standards on November 30, 2019, and
            require obligated parties to submit their compliance reports for
            that year on January 1, 2021, that schedule would provide
            obligated parties with roughly 13 months’ compliance lead
            time. Second, what we refer to as “compliance intervals” are
            the periods between the reporting deadlines for consecutive
            compliance years. For instance, if EPA were to set the
            reporting deadlines for the 2020-2022 compliance years as
            January 1 of 2021, 2022, and 2023, respectively, that
            compliance schedule would provide obligated parties with 12-
            month compliance intervals. The lead times and compliance
            intervals set by EPA directly affect obligated parties’
            compliance burdens: The former governs how much notice
            obligated parties receive in preparing to meet their renewable
            fuel obligations for a given year, and the latter determines how
            long obligated parties have between reporting deadlines to take
            the steps necessary to satisfy their obligations across
            successive compliance years.

                 As for how obligated parties demonstrate compliance, the
            Act establishes a market-based program through which parties
            can purchase and trade credits. 42 U.S.C. § 7545(o)(5). The
            credits in this system are known as “Renewable Identification
            Numbers” or “RINs.” See 40 C.F.R. § 80.1425. RINs are
            unique numbers that represent a given volume of renewable
            fuel. Id. § 80.1401; see Monroe Energy, 750 F.3d at 913. In
USCA Case #22-1015     Document #2008338                Filed: 07/18/2023       Page 7 of 31




                                           7
            effect, RINs serve as the currency of the RFS Program. Parties
            acquire RINs and then demonstrate compliance with their
            renewable fuel obligations for the year by “retir[ing]” (i.e.,
            submitting) them to EPA by the compliance filing deadline. Id.
            § 80.1427(a).

                 The statute and regulations describe how RINs become
            available. A party that produces or imports renewable fuel for
            use in the United States thereby generates a quantity of RINs
            corresponding to the volume of ethanol-equivalent fuel gallons
            (a standardized measure across different fuel types) that it has
            introduced into the U.S. economy. See Monroe Energy, 750
            F.3d at 913; 40 C.F.R. §§ 80.1415(a), 80.1425, 80.1426. When
            an entity blends renewable fuel into conventional
            transportation fuel (e.g., gasoline or diesel), the RINs from the
            blended renewable batch are deemed “separated,” meaning
            they may be traded in the market or used to demonstrate
            compliance. See Monroe Energy, 750 F.3d at 913 (citing 40
            C.F.R. § 80.1426(e), 80.1429(b)). Parties may thus acquire
            “separated” (i.e., usable) RINs either by blending renewable
            fuel into conventional transportation fuel themselves or buying
            separated RINs from another entity that did so. See id. The
            Act provides that RINs are “valid to show compliance for the
            12 months as of the date of generation.” 42 U.S.C.
            § 7545(o)(5)(C).

                 To provide compliance flexibility, the Act permits
            obligated parties “unable to generate or purchase sufficient
            credits to meet the [renewable fuel] requirements” for the given
            year to carry forward a “renewable fuel deficit” into the next
            compliance year. Id. § 7545(o)(5)(D). Any party carrying
            forward a deficit under this provision must accumulate
            sufficient credits the next year to pay off that deficit. Id. We
            refer to this provision as the deficit carry-forward provision.
USCA Case #22-1015     Document #2008338                 Filed: 07/18/2023       Page 8 of 31




                                            8
                 Finally, as relevant here, the Act permits small refineries,
            which are defined in terms of their average daily crude oil
            throughput, id. § 7545(o)(1)(K), to petition for exemptions
            from Program requirements based on “disproportionate
            economic hardship,” id. § 7545(o)(9). EPA must grant or deny
            such petitions “not later than 90 days after the date of receipt.”
            Id. § 7545(o)(9)(B)(iii).

                                           B.

                 This case centers on EPA’s authority to alter obligated
            parties’ compliance deadlines when the agency has fallen
            behind in administering the RFS Program and seeks to catch
            up.

                 A series of EPA delays precipitated the challenge before
            us. While these delays are not the subject of the Refineries’
            petitions here, we briefly recount them as context helpful to
            understanding the challenged Extension Rule. First, for the
            2020-2022 compliance years, EPA failed to timely issue the
            Program’s renewable fuel standards. The statutory deadlines
            for EPA to issue those standards fell on November 30 of 2019,
            2020, and 2021, respectively. 42 U.S.C. § 7545(o)(3)(B)(i).
            EPA initially issued the 2020 standard approximately two
            months late, on February 6, 2020. See Renewable Fuel
            Standard Program: Standards for 2020 and Biomass-Based
            Diesel Volume for 2021 and Other Changes, 85 Fed. Reg.
            7016, 7069 (Feb. 6, 2020). EPA then issued a revised, more
            lenient version of the 2020 standard on July 1, 2022—i.e., 31
            months after its statutory due date. See Renewable Fuel
            Standard (RFS) Program: RFS Annual Rules, 87 Fed. Reg.
            39,600 (July 1, 2022) (July 2022 Rule). EPA issued the 2021
            and 2022 standards in that same July 2022 Rule, see id. at
            39,601—so those announcements were late by 19 and 8
            months, respectively, see 42 U.S.C. § 7545(o)(3)(B)(i).
USCA Case #22-1015     Document #2008338                Filed: 07/18/2023       Page 9 of 31




                                           9
                 Notably, those were not the first times EPA had missed its
            statutory deadlines to publish renewable fuel standards for a
            given year. See Ams. for Clean Energy v. EPA (ACE), 864 F.3d
            691, 718-21 (D.C. Cir. 2017); Monroe Energy, 750 F.3d at
            919-20; Nat’l Petrochemical & Refiners Ass’n v. EPA, 630
            F.3d 145, 154-58 (D.C. Cir. 2010). Given EPA’s track record,
            we have wondered in past cases whether some of the standard-
            setting deadlines Congress prescribed may be “unrealistic” in
            view of EPA resources and the nature of the task. Nat’l
            Petrochemical, 630 F.3d at 156.

                 The Refineries also emphasize that EPA did not timely
            resolve many small refinery petitions for exemption from RFS
            Program requirements for the 2016-2021 compliance years.
            See Notice of June 2022 Denial of Petitions for Small Refinery
            Exemptions Under the Renewable Fuel Standard Program, 87
            Fed. Reg. 34,873, 34,873-74 (June 8, 2022) (Notice of June
            2022 SRE Denial); April 2022 Denial of Petitions for Small
            Refinery Exemptions Under the Renewable Fuel Standard
            Program, 87 Fed. Reg. 24,300, 24,300 (Apr. 25, 2022). As of
            early 2022, those petitions remained pending while EPA
            reevaluated its overall policies for adjudicating small refinery
            exemption petitions. See Notice of Opportunity to Comment
            on Proposed Denial of Petitions for Small Refinery
            Exemptions, 86 Fed. Reg. 70,999, 71,000 (Dec. 14, 2021)
            (December 2021 Notice).

                That brings us to the challenged rule: As part of its efforts
            to mitigate the harm caused by its delayed standard-setting and
            the continued uncertainty surrounding its small refinery
            exemption policies, EPA issued the Extension Rule in
            February 2022. See Renewable Fuel Standard (RFS) Program:
            Extension of Compliance and Attest Engagement Reporting
            Deadlines, 87 Fed. Reg. 5,696 (Feb. 2, 2022) (Extension Rule
USCA Case #22-1015     Document #2008338                 Filed: 07/18/2023        Page 10 of 31




                                            10
             or Rule). The Rule makes two principal sets of changes to the
             Program’s compliance schedule.

                  First, the Rule extends obligated parties’ 2019-2022
             compliance deadlines. It extends the 2019 compliance
             reporting deadline for small refineries from November 30,
             2021, to the next quarterly reporting deadline after the effective
             date of the 2021 renewable fuel standards—i.e., September 1,
             2022. See id. at 5,698-99; Extension of 2019 and 2020
             Renewable Fuel Standard Compliance and Attest Engagement
             Reporting Deadlines, 86 Fed. Reg. 17,073, 17,073 (Apr. 1,
             2021); July 2022 Rule, 87 Fed. Reg. at 39,600. The Rule also
             pushes back the 2020 and 2021 compliance deadlines for all
             obligated parties to the next quarterly reporting deadline after
             the prior compliance year’s reporting deadline. See Extension
             Rule, 87 Fed. Reg. at 5,699. And for 2022, the Rule sets the
             compliance deadline as the later of the next quarterly reporting
             deadline after (1) the effective date of the 2023 renewable fuel
             standards or (2) the compliance deadline for 2021. See id.

                  To put things more simply, those changes ensure obligated
             parties will not have to submit their 2020-2022 compliance
             reports before knowing their renewable fuel obligations for
             those years. The Rule also ensures small refineries will not
             have to submit their 2019 compliance reports before the agency
             resolves the pending small refinery exemption petitions—i.e.,
             before those small refineries know whether they are exempt
             from compliance reporting requirements.

                 Second, the Extension Rule establishes a new compliance
             schedule for 2023 and ensuing years. It sets the compliance
             deadline for each year starting in 2023 as the latest of (a) March
             31 of the following calendar year; (b) the next quarterly
             reporting deadline after the effective date of the next
             compliance year’s standards; or (c) the next quarterly reporting
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 11 of 31




                                           11
             deadline after the compliance deadline for the prior compliance
             year. See id. at 5,700. In practical terms, this provision
             automatically extends obligated parties’ compliance reporting
             deadlines in the event EPA fails to timely issue the renewable
             fuel standards for a given year in the future.

                  Beyond the Extension Rule, EPA undertook several
             additional steps to mitigate the effects on regulated parties of
             its delays during the 2019 to 2022 compliance cycles. In the
             rule setting the 2020-2022 standards, EPA adjusted the 2020
             renewable fuel volume downward to reflect the “volumes of
             renewable fuel actually used in” that year. July 2022 Rule, 87
             Fed. Reg. at 39,618. EPA anticipated that this downward
             adjustment would decrease the risk of scarcity of RINs for
             obligated parties to use for compliance, which would in turn
             reduce the risk of “disrupt[ions] [to] the functionality of the
             RIN market.” Id. EPA likewise eased the 2021 requirements,
             setting the “2021 volumes at the volumes of renewable fuel
             actually used in 2021.”        Id.    Separately, the agency
             promulgated a rule that allows small refineries to opt into an
             alternative schedule giving them more time to satisfy their
             2020 renewable fuel obligations. Renewable Fuel Standard
             (RFS) Program: Alternative RIN Retirement Schedule for
             Small Refineries, 87 Fed. Reg. 54,158, 54,161 (Sept. 2, 2022)
             (Alternative Retirement Schedule). EPA offered that option to
             small refineries to “facilitate their transition into full
             compliance with the RFS program” following EPA’s denial of
             their exemption petitions. Id. at 54,161.

                                           C.

                 Several fuel refineries petitioned for review of the
             Extension Rule. We consolidated their petitions. Order, No.
             22-1015, Dkt. No. 1941984 (Apr. 5, 2022). With the exception
USCA Case #22-1015      Document #2008338                Filed: 07/18/2023         Page 12 of 31




                                             12
             of one refinery, Coffeyville Resources Refining & Marketing,
             LLC, all petitioners are small refineries under the CAA.

                  Shortly after filing their petitions, the Refineries moved
             for a stay of the Rule pending review, which EPA opposed. We
             held that the petitioners had not shown a likelihood of success
             on their claims, so denied the motion.

                                             II.

                  We begin by confirming the Refineries’ standing to seek
             review of the Extension Rule. In support of Article III
             standing, the Refineries noted that, “[a]s obligated parties,”
             they are “subject to annual RFS compliance deadlines, 40
             C.F.R. § 80.1406, and thus are directly regulated by the
             Extension Rule.” Pets. Br. 18. Although EPA does not
             question it, we have an independent obligation to satisfy
             ourselves of our own jurisdiction. See Steel Co. v. Citizens for
             a Better Env’t, 523 U.S. 83, 94-95 (1998).

                  To meet the requirements of Article III standing in a case
             challenging agency action, a petitioner must show,
             supplementing the administrative record as needed, (1) that it
             suffered an injury that is concrete, particularized, and actual or
             imminent; (2) that the injury is fairly traceable to the
             challenged agency action; and (3) that judicial relief would
             likely redress the injury. See Lujan v. Defs. of Wildlife, 504
             U.S. 555, 560-61 (1992); Ams. for Safe Access v. Drug Enf’t
             Admin., 706 F.3d 438, 442 (D.C. Cir. 2013). In evaluating a
             petitioner’s standing, we must assume it will prevail on the
             merits of its claims. Ams. for Safe Access, 706 F.3d at 443;
             accord NB ex rel. Peacock v. District of Columbia, 682 F.3d
             77, 82 (D.C. Cir. 2012).

                 “[T]here is ordinarily little question” that a regulated entity
             has standing to challenge a rule under which it is regulated.
USCA Case #22-1015      Document #2008338                 Filed: 07/18/2023         Page 13 of 31




                                             13
             Lujan, 504 U.S. at 560-61; accord State Nat. Bank of Big
             Spring v. Lew, 795 F.3d 48, 53 (D.C. Cir. 2015); Corbett v.
             Transp. Sec. Admin., 19 F.4th 478, 483 (D.C. Cir. 2021). And,
             where a petitioner’s standing is “self-evident[,] no evidence
             outside the administrative record is necessary for the court to
             be sure of it.” Sierra Club v. EPA, 292 F.3d 895, 899 (D.C.
             Cir. 2013); cf. Concerned Household Elec. Consumers Council
             v. EPA, No. 22-1139, 2023 WL 3643436, at *2 (D.C. Cir. May
             25, 2023) (unpublished judgment) (faulting petitioners, who
             were not “directly regulated by the challenged rule,” for failing
             to submit evidence to establish their standing) (quoting Am.
             Fuel & Petrochemical Mfrs. v. EPA, 3 F.4th 373, 379 (D.C.
             Cir. 2021)).

                   Applying those principles, we conclude the Refineries
             have standing to challenge the Extension Rule. The Refineries
             have suffered an injury-in-fact caused by EPA’s challenged
             actions. Assuming for purposes of the standing inquiry that the
             Refineries will prevail on their claim, the Extension Rule
             financially burdens the Refineries by requiring them to
             purchase RINs to satisfy their 2020-2022 renewable fuel
             obligations within a compressed timeframe. We need not
             credit any assertions that EPA’s rulemaking caused an increase
             in RIN prices to recognize the burden of the shorter compliance
             interval: Instead of having three years to purchase RINs to
             meet those obligations—as the Refineries claim the CAA
             requires—the Extension Rule leaves Refineries potentially as
             little as nine months to do so. See 87 Fed. Reg. at 5,699. The
             cost of acquiring RINs for one compliance year often reaches
             into the tens of millions of dollars for small refineries, and it is
             readily apparent that expecting them to acquire enough RINs
             within a substantially shorter timeframe imposes a financial
             burden on them. One petitioner commented in opposition to
             the Extension Rule that abiding by the Rule’s compliance
             schedule “would be an extreme financial shock to the system
USCA Case #22-1015     Document #2008338                Filed: 07/18/2023        Page 14 of 31




                                            14
             of any obligated party, much less [small refineries].” See RFS
             Extension of Compliance and Attest Engagement Reporting
             Deadlines: Response to Comments, EPA-420-R-22-001, at 15
             (Jan. 2022) (RTC) (Comment of Coffeyville) (J.A. 17); accord
             id. at 12 (Comment of Small Refiners Coalition) (J.A. 14).
             That financial burden is a cognizable injury-in-fact fairly
             traceable to the Extension Rule. See Monroe Energy, 750 F.3d
             at 915.

                  Finally, an order from this court would likely redress the
             Refineries’ asserted injury. If we were to hold that the statute
             guarantees obligated parties a minimum of 12 months between
             compliance deadlines and 13 months’ compliance lead time, as
             the Refineries contend, EPA could not impose the compressed
             compliance schedule set forth in the Extension Rule. Nor could
             EPA simply revert to the preexisting 2020-2022 compliance
             deadlines: Those deadlines also gave less than 13 months’
             compliance lead time. See 79 Fed. Reg. at 23,670. Rather, if
             the Refineries were to prevail, EPA would be required to either
             provide obligated parties more time to submit their 2020-2022
             compliance reports or offer obligated parties relief from their
             renewable fuel obligations for those years by, for instance,
             waiving their renewable fuel requirements. See 42 U.S.C.
             § 7545(o)(7). Thus, assuming for purposes of the standing
             inquiry that the Refineries will succeed on the merits of their
             claims, their claimed injury is redressable. We therefore
             proceed to the merits.

                                           III.

                  We review the Extension Rule pursuant to section
             307(b)(1) of the Clean Air Act. 42 U.S.C. § 7607(b)(1). Under
             that section, we may reverse an agency action if it is arbitrary,
             capricious, an abuse of discretion, or not in accordance with
             law. Id. § 7607(d)(9)(A).
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 15 of 31




                                           15
                 The Refineries challenge two aspects of the Extension
             Rule: the 2019-2022 compliance deadlines and the compliance
             schedule for 2023 and ensuing years. They argue both sets of
             provisions are contrary to law or, in the alternative, arbitrary
             and capricious. We address each set of provisions in turn.

                                           A.

                  We begin with the Refineries’ challenge to the Extension
             Rule’s 2020-2022 compliance deadlines. The Refineries
             contend that, in light of EPA’s late standard setting, the
             Extension Rule violates the CAA by giving obligated parties
             insufficient time to meet their compliance obligations. In
             particular, they argue that the Act requires EPA to afford
             obligated parties a minimum of 13 months’ compliance lead
             time and a 12-month compliance interval, regardless of
             whether EPA timely issues the renewable fuel standards for the
             compliance years in question. They also contend that the
             agency acted arbitrarily and capriciously in setting the 2020-
             2022 compliance schedule.

                  Neither argument carries the day. We hold that, when
             EPA issues untimely renewable fuel standards, the CAA does
             not entitle obligated parties to 13 months’ compliance lead
             time, nor does it require a minimum 12-month compliance
             interval. The agency, moreover, did not act arbitrarily and
             capriciously in establishing the 2020-2022 compliance
             schedule. Rather, the lead times and intervals are reasonable
             and reasonably explained.

                                            1.

                  The Refineries’ argument that the CAA binds EPA to an
             inflexible compliance schedule contravenes the statutory text
             and our precedent. The CAA calls on EPA to design a
             compliance regime for the RFS Program. It charges EPA with
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 16 of 31




                                           16
             “promulgat[ing] regulations to ensure that gasoline sold or
             introduced into commerce in the United States” contains at
             least the annual applicable volumes of renewable fuel required
             by the Act. 42 U.S.C. § 7545(o)(2)(A)(i). Further, the Act
             calls for regulations that “contain compliance provisions
             applicable to refineries, blenders, distributors, and importers,
             as appropriate, to ensure that the requirements [of the Program]
             are met.” Id. § 7545(o)(2)(A)(iii)(I). Importantly, the Act
             itself contains no compliance deadlines or intervals for
             obligated parties. See id. § 7545(o). Thus, rather than task
             EPA with overseeing a fixed compliance schedule, the Act
             gives EPA flexibility to craft and adjust a compliance regime
             in service of the Act’s core mandate: to ensure the Act’s annual
             renewable fuel volumes are met. See id. § 7545(o)(2)(A)(i).

                  Our precedent establishes that, when EPA misses its
             statutory deadline to issue the renewable fuel standards for a
             given year, the agency may—and in fact should—adjust
             compliance deadlines. We have thrice held that EPA is
             authorized to issue annual RFS standards after the statutory
             deadline, so long as it takes reasonable steps to mitigate any
             harm to obligated parties from the delay. ACE, 864 F.3d at
             718-21; Monroe Energy, 750 F.3d at 919-20; Nat’l
             Petrochemical, 630 F.3d at 154-58. As relevant here, on two
             of those occasions we characterized EPA’s extension of the
             Program’s compliance reporting deadlines and compression of
             compliance intervals as vital to mitigating the harm to
             obligated parties caused by EPA’s delay.

                  In ACE, for instance, we rejected a challenge to EPA’s late
             issuance of the RFS Program’s 2014-2017 annual volumes for
             biomass-based diesel. 864 F.3d at 719-21. We concluded EPA
             had “adequately considered various ways to minimize the
             hardship caused to obligated parties by virtue of EPA’s delay,”
             based in part on EPA’s “very extensive extensions of the
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 17 of 31




                                           17
             normal compliance demonstration deadlines” for the 2014 and
             2015 compliance years. See id. at 721, 722 (internal quotation
             marks omitted). Those extensions, like the ones at issue here,
             provided less than 13 months’ compliance lead time and a
             compliance interval of less than 12 months. See Renewable
             Fuel Standard Program: Standards for 2014, 2015, and 2016
             and Biomass-Based Diesel Volume for 2017, 80 Fed. Reg.
             77,420, 77,491 (Dec. 14, 2015).

                  Similarly, in Monroe Energy, we affirmed EPA’s
             authority to issue the 2013 renewable fuel standards after the
             statutory deadline, based in part on EPA’s decision to “extend
             the compliance deadline by four months.” 750 F.3d at 920; see
             id. at 920-21. EPA had determined “that the best way to
             balance obligated parties’ interest in regulatory certainty with
             EPA’s statutory obligation to ensure the renewable fuel
             volumes are annually met was to extend the compliance
             demonstration deadline by four months,” while also shortening
             the parties’ compliance interval. Id. at 920. Even with the
             extension, obligated parties received less than 13 months’
             compliance lead time. See Regulation of Fuels and Fuel
             Additives: 2013 Renewable Fuel Standards, 78 Fed. Reg.
             49,794, 49,800, 49,823 (Aug. 15, 2013). We concluded that
             “EPA’s decision to preserve the 2013 fuel standards while
             extending the compliance deadline to June 30, 2014[,] was
             reasonable.” Monroe Energy, 750 F.3d at 921.

                 Our decisions in ACE and Monroe Energy thus
             contemplate that, when EPA misses its statutory deadlines, the
             agency may adjust obligated parties’ compliance deadlines in
             order to mitigate the effects of its lateness.

                  EPA’s extension of the 2020-2022 compliance deadlines
             in the Extension Rule heeds the guidance in those decisions.
             As noted, by the time EPA issued the Extension Rule it had
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 18 of 31




                                           18
             missed its statutory deadlines to publish the 2021 and 2022
             renewable fuel standards. See 42 U.S.C. § 7545(o)(3)(B)(i);
             Extension Rule, 87 Fed. Reg at 5,697. The Extension Rule
             stated that EPA planned to issue a revised version of the 2020
             standard, meaning publication of the final version of that
             standard would be late as well. See Extension Rule, 87 Fed.
             Reg at 5,697. Per our precedent, when publishing standards
             after the statutory deadline, EPA must “reasonably mitigate[]
             any burdens that its lateness [had] impose[d] on obligated
             parties.” ACE, 864 F.3d at 717; see also id. at 718-21. In the
             Extension Rule, EPA sought to do just that: It endeavored to
             mitigate the harm caused by its “continued delay” in
             promulgating the final 2020-2022 standards by extending the
             compliance reporting deadlines for those years. Extension
             Rule, 87 Fed. Reg at 5,697.

                  And, rather than create a permanent lag in compliance
             deadlines as a result of those extensions, EPA established a
             timeline going forward that would enable the agency to get the
             Program’s compliance cycle back on track. See Extension
             Rule, 87 Fed. Reg. at 5,698-99. To do so, EPA provided less
             than 13 months’ compliance lead time and less than a full year
             compliance interval, see Extension Rule, 87 Fed. Reg. at 5,698-
             99—as it had done in the rules we considered in ACE, see 864
             F.3d at 719-22; 80 Fed. Reg. at 77,491, and Monroe Energy,
             see 750 F.3d at 920-21; 78 Fed. Reg. at 49,800, 49,823.

                  Notwithstanding our prior rulings, the Refineries argue
             that the Extension Rule’s “compressed” compliance timeline
             violates the CAA. Pets. Br. 19; see id. at 24-25. According to
             the Refineries, the Act “guarantees obligated parties at least a
             year between annual compliance deadlines and more than a
             year between the date EPA sets the volumes and the date
             obligated parties must comply with them.” Id. at 17. The
             Refineries acknowledge that, if EPA misses its statutory
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 19 of 31




                                           19
             deadline, their theory prevents the agency from getting the
             Program back on track without excusing or reducing the
             parties’ renewable fuel obligations for that year. See Reply Br.
             6. In other words, the Refineries read the CAA to require EPA,
             when it fails to timely publish a renewable fuel standard, to
             either remain persistently behind schedule from year to year,
             or to catch up by abandoning its statutory duty “to ensure” the
             Program’s annual renewable fuel volumes are met for the
             affected year. 42 U.S.C. § 7545(o)(2)(A)(i). We do not read
             the Act to prioritize the timeframes the Refineries see as
             implicit in the statute over EPA’s express statutory obligation
             to implement the requisite use of renewable fuels.

                  To make their case that the Extension Rule abbreviates
             timeframes the Act implicitly prescribes, the Refineries first
             contend that EPA’s annual statutory deadline to issue
             renewable fuel standards by November 30 before the start of
             the applicable compliance year means that they are entitled to
             13 months’ compliance lead time.               See 42 U.S.C.
             § 7545(o)(3)(B)(i). The Refineries claim that, “[b]ecause the
             earliest possible deadline for compliance for any particular
             calendar year is the following January 1, obligated parties are
             entitled [to] at least 13 months’ lead time between publication
             of the final annual volume obligation and the deadline for
             reporting compliance with that obligation.” Pets. Br. 22.

                  That argument fails to persuade. We note, at the outset,
             that the Act contains no express requirement that EPA refrain
             from requiring any compliance reporting until the entire
             compliance year has elapsed. See 42 U.S.C. § 7545(o). Even
             assuming arguendo the Refineries are correct that the statute
             anticipates 13 months’ lead time in the normal course, it does
             not follow that the Act binds EPA to that timeframe in the event
             EPA misses its statutory deadline. As discussed, such a
             reading of the Act would effectively preclude EPA from
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 20 of 31




                                           20
             fulfilling its primary mandate whenever it is late in setting a
             renewable fuel standard. In the Refineries’ view, falling
             behind in setting the RFS for a given year would automatically
             curtail EPA’s compliance authority: It could either protect the
             Refineries’ compliance lead time by remaining equally far
             behind in subsequent years, or get the Program back on track
             by relieving parties’ renewable fuel obligations for the
             compliance year at issue. Absent an express 13-month
             minimum requirement in the Act’s text, we are not persuaded
             Congress intended EPA to abdicate its core statutory duty in
             service of that inflexible compliance lead time. To the
             contrary, Congress explicitly directed EPA to craft a
             compliance regime “as appropriate, to ensure that the
             requirements [of the Program] are met”—thereby mandating
             that any compliance framework work in service of the Act’s
             renewable fuel goals, not against them.                     Id.
             § 7545(o)(2)(A)(iii)(I).   In enacting the RFS Program,
             “Congress’ focus [was] on ensuring the annual volume
             requirement [is] met regardless of EPA delay.” Monroe
             Energy, 750 F.3d at 920 (quoting Nat’l Petrochemical, 630
             F.3d at 163).

                  The Refineries next point to the Act’s use of the term
             “calendar year” in setting the renewable fuel volume
             requirements as evidence that the statute mandates 12-month
             intervals between compliance deadlines. 42 U.S.C.
             § 7545(o)(2)(B); see Pets. Br. 20; Reply Br. 3. But Congress’s
             specification that the Act’s volume requirements be set on an
             annual basis does not mean that obligated parties’ compliance
             reports must be submitted at 12-month intervals. Rather, the
             Act grants EPA the authority to establish reporting deadlines
             and compliance intervals “as appropriate, to ensure” the Act’s
             requirements are met. 42 U.S.C. § 7545(o)(2)(A)(iii)(I).
USCA Case #22-1015     Document #2008338                 Filed: 07/18/2023        Page 21 of 31




                                            21
                  The Refineries also contend the Act’s deficit carry-
             forward provision supports their view that 12-month
             compliance intervals are “mandatory.” Pets. Br. 20; see id. at
             20-21. That provision permits any entity that lacks sufficient
             credits to meet its renewable fuel obligations for a given year
             “to carry forward a renewable fuel deficit,” provided that, in
             the next year, the entity “(i) achieves compliance with [its]
             renewable fuel [obligations]; and (ii) generates or purchases
             additional renewable fuel credits to offset the renewable fuel
             deficit of the previous year.” 42 U.S.C. § 7545(o)(5)(D). The
             Refineries claim that the Extension Rule’s compliance timeline
             renders the Act’s deficit carry-forward provision “useless,”
             because parties will only have three or five months rather than
             the full ensuing year to satisfy their deficit from a prior year.
             Pets. Br. 21.

                 That argument ignores the function that the carry-forward
             provision continues to serve under the Extension Rule.
             Obligated parties may carry forward a deficit into the following
             compliance year to satisfy their obligations even when the
             compliance interval is less than 12 months. For instance, under
             the Extension Rule, eligible obligated parties may carry
             forward a renewable fuel deficit from the 2020 compliance
             year into the 2021 compliance year—and thus avail themselves
             of the compliance flexibility envisioned by the Act—even
             when the compliance reporting dates for those years are set at
             quarterly rather than annual intervals. See Extension Rule, 87
             Fed. Reg. at 5,698-99; 40 C.F.R. § 80.1428(c); RTC 19 (EPA
             Response) (J.A. 21). The deficit carry-forward provision thus
             plays a useful role even when compliance intervals are
             compressed.

                  Accordingly, we hold that, when EPA issues renewable
             fuel standards after the applicable statutory deadline for a given
             year, the agency is not statutorily bound to provide a minimum
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 22 of 31




                                           22
             of 13 months’ compliance lead time or 12 months between
             compliance reporting deadlines. Rather, it may reasonably
             adjust the RFS Program’s compliance schedule as appropriate
             to mitigate the harm caused by EPA’s delay and to ensure the
             requirements of the Program are met. We thus reject the
             Refineries’ claim that the Extension Rule’s 2020-2022
             compliance schedule violates the CAA.

                                            2.

                  Next, we turn to the Refineries’ argument that the
             Extension Rule’s 2020-2022 compliance deadlines are
             arbitrary and capricious. Under the deferential arbitrary and
             capricious standard, we evaluate whether the challenged
             agency       action   is    “reasonable     and      reasonably
             explained.” POET Biorefining, LLC v. EPA, 970 F.3d 392, 409
             (D.C. Cir. 2020) (quoting Cmtys. for a Better Env’t v. EPA, 748
             F.3d 333, 335 (D.C. Cir. 2014)). Our role is not to substitute
             our policy judgments for those of the agency. Id. at 414.
             Rather, we “must exercise our ‘narrowly defined duty of
             holding agencies to certain minimal standards of
             rationality.’” Hearth, Patio & Barbecue Ass’n v. EPA, 11
             F.4th 791, 805 (D.C. Cir. 2021) (quoting Murray Energy Corp.
             v. EPA, 936 F.3d 597, 608 (D.C. Cir. 2019)).

                  The Refineries contend that the Extension Rule is arbitrary
             and capricious because it fails to “reasonably mitigate” the
             harm caused by EPA’s delays in taking other actions. Pets. Br.
             2, 20, 25-29. They argue that the agency’s delays in issuing
             the 2020-2022 standards and belated denial of a group of small
             refinery exemption petitions have subjected refineries,
             especially small ones, to a host of hardships. They assert that
             RIN market instability and elevated RIN prices add to the costs
             of compliance. According to the Refineries, “the only
             reasonable mitigation” under the circumstances is to give
USCA Case #22-1015     Document #2008338                Filed: 07/18/2023        Page 23 of 31




                                            23
             obligated parties some form of reprieve from their renewable
             fuel obligations. Id. at 28. They suggest EPA could offer
             parties an alternative compliance demonstration approach that
             would reduce their obligations, exercise its waiver authority to
             eliminate their obligations entirely, or provide small refineries
             credits to compensate for changes in RIN prices. By failing to
             undertake these measures in the Extension Rule, the Refineries
             argue, EPA acted arbitrarily and capriciously.

                  The Refineries’ reasonable-mitigation argument is
             misdirected. It is true that, in evaluating challenges to late-
             issued renewable fuel standards, we have looked to whether
             EPA reasonably mitigated any hardship to obligated parties
             caused by its delay in issuing those standards. See ACE, 864
             F.3d at 718-19; see Monroe Energy, 750 F.3d at 920; Nat’l
             Petrochemical, 630 F.3d at 166. But other agency actions that
             could bear on refineries’ obligations are not before us here.
             EPA’s delayed issuance of the 2020-2022 standards is subject
             to a separate pending challenge, Sinclair Wyoming Refining
             Co. v. EPA, No. 22-1210 (D.C. Cir.), as is EPA’s denial of
             several small refinery exemption petitions, Sinclair Wyoming
             Refining Co. v. EPA, No. 22-1073 (D.C. Cir.); Hunt Refining
             Co. v. EPA, No. 22-11617 (11th Cir.); Calumet Shreveport
             Refining LLC v. EPA, No. 22-60266 (5th Cir.). Any questions
             whether EPA has reasonably mitigated the asserted hardships
             caused by those delays are not before us in this case. Needless
             to say, we take no position on the merits of those petitions. The
             agency action on review here is limited to EPA’s decision to
             alter obligated parties’ compliance deadlines in the Extension
             Rule.

                 To the extent the Refineries argue that the specific
             compliance lead times and compliance intervals set forth in the
             Extension Rule are arbitrary and capricious, we reject that
             argument. The 2020-2022 compliance schedule established by
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 24 of 31




                                           24
             the Extension Rule is both reasonable and reasonably justified
             by the agency.

                  With respect to the compliance lead times set forth in the
             Extension Rule, EPA reasonably determined that obligated
             parties would have adequate notice and time to comply with
             the 2020-2022 standards. For the 2020 renewable fuel
             obligations, obligated parties had more than two-and-a-half
             years’ advance notice of the original 2020 standard before the
             compliance deadline set by the Extension Rule, see 85 Fed.
             Reg. 7,016 (Feb. 6, 2020); Extension Rule, 87 Fed. Reg. at
             5,698—well beyond the 13 months’ lead time the Refineries
             seek. Although EPA issued revised 2020 standards in July
             2022, see 87 Fed. Reg. at 39,602, it modified parties’
             obligations downward, making it easier for obligated parties to
             comply, and thereby justifying the shorter increment of
             compliance lead time following its revision, see ACE, 864 F.3d
             at 718-19.

                  For the 2021 compliance year, EPA calibrated the
             compliance lead time that it chose based on the renewable fuel
             standards it planned to set. The agency planned to (and
             ultimately did) set the 2021 volumes “at actual renewable fuel
             use in the [United States],” RTC 19 (EPA Response) (J.A. 21);
             see 87 Fed. Reg. at 39,602-03. This approach guards against
             RIN shortages by ensuring that the quantity of RINs already
             generated during the relevant year will be adequate to satisfy
             the renewable fuel standards for that compliance year. See 87
             Fed. Reg. at 39,622; ACE, 864 F.3d at 718-19 (citing 80 Fed.
             Reg. at 77,430, 77,439-40). Given that no further RIN
             generation would be required, and that “all RINs for [the] 2021
             renewable fuel production ha[d] already been generated and all
             gasoline and diesel fuel production ha[d] already occurred,”
             EPA concluded it was not necessary to provide obligated
             parties with a full year of compliance lead time to demonstrate
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023       Page 25 of 31




                                           25
             compliance with 2021 obligations. RTC 32 (EPA Response)
             (J.A. 34). Instead, by the Refineries’ own count, the Extension
             Rule ultimately provided obligated parties 10 months between
             EPA’s publication of the 2021 standard and their compliance
             reporting deadlines. See Extension Rule, 87 Fed. Reg. at 5,698;
             Pets. Br. 24. Notably, EPA had given obligated parties
             approximately eight months’ lead time in the past when setting
             the volumes at actual renewable fuel use—for instance, in the
             rule we considered in ACE, see 864 F.3d at 722-23; 80 Fed.
             Reg. at 77,491—and EPA drew on that “past practice” in
             crafting the 2021 timeline, RTC 32 & n.12 (EPA Response)
             (citing, inter alia, 80 Fed. Reg. at 77,512-14) (J.A. 34). The
             agency’s decision to provide a similar timeline under similar
             circumstances was not unreasonable.

                  Regarding the 2022 compliance year, the Refineries
             acknowledge that EPA afforded obligated parties at least 12
             months’ lead time, just one month short of the 13-month period
             they request. See Pets. Br. 24; Extension Rule, 87 Fed. Reg. at
             5,698; July 2022 Rule, 87 Fed. Reg. at 39,602-03. The
             Refineries offer no reason why that one-month discrepancy
             renders EPA’s 2022 deadline unreasonable. See Pets. Br. 22-
             24. Moreover, the Rule provided that obligated parties might
             ultimately receive more than 13 months’ lead time for the 2022
             compliance year under the Extension Rule, depending on when
             EPA issues the 2023 renewable fuel standards. See Extension
             Rule, 87 Fed. Reg. at 5,698 (setting the 2022 compliance
             deadline as the later of either the next quarterly reporting
             deadline after the 2021 compliance deadline or the effective
             date of the 2023 standards). We thus conclude EPA reasonably
             balanced its statutory responsibility to ensure the Program’s
             annual fuel requirements are met with its need to extend the
             2020-2022 compliance deadlines as part of its efforts to
             mitigate the harm caused by its delay in issuing those
             standards.
USCA Case #22-1015     Document #2008338              Filed: 07/18/2023       Page 26 of 31




                                          26
                  Finally, as for the compliance intervals set by the Rule,
             EPA drew on its relevant experience. See RTC 9 (EPA
             Response) (J.A. 11). As EPA explained, “[o]ur past experience
             administering this program has indicated that, where the RFS
             annual rules have been delayed, [a] 60-day window between
             compliance deadlines is a workable amount of time for
             obligated parties to develop their compliance strategy and
             acquire sufficient RINs to demonstrate compliance.” Id.;
             accord Extension Rule, 87 Fed. Reg. at 5,699-700 & n.19.
             EPA further noted that “this amount of time was generally
             sufficient for obligated parties to comply with the 2013-2016
             standards, which had a similar compliance schedule to the one
             finalized in this action.” RTC 9 (EPA Response) (J.A. 11); see
             id. at 46-47 & n.17 (EPA Response) (J.A. 48-49); 80 Fed. Reg.
             at 77,513-14.

                  The Refineries counter that a recent Government
             Accountability Office (GAO) Report calls into question
             assumptions about RIN market functionality that EPA relied
             on in crafting the Extension Rule. See Reply Br. 12-13 (citing
             GAO, Renewable Fuel Standard: Actions Needed to Improve
             Decision-Making in the Small Refinery Exemption Program,
             No. GAO-23-105801 (Nov. 3, 2022) (2022 GAO Report));
             Oral Arg. 2:55-3:20, 55:00-40. GAO issued that report after
             EPA promulgated the Extension Rule, however. See 2022
             GAO Report 1; 87 Fed. Reg. at 5,696. And we “judge the
             reasonableness of an agency’s decision on the basis of the
             record before the agency at the time it made its decision.”
             NTCH, Inc. v. FCC, 950 F.3d 871, 881 (D.C. Cir. 2020) (per
             curiam) (quoting Rural Cellular Ass’n v. FCC, 588 F.3d 1095,
             1107 (D.C. Cir. 2009)). Additionally, the report focuses on
             EPA’s policies for resolving small refinery exemption
             petitions, see 2022 GAO Report 1-2, 26, which are not
             challenged here.
USCA Case #22-1015     Document #2008338                 Filed: 07/18/2023        Page 27 of 31




                                            27
                  To sum up, we conclude that the 2020-2022 compliance
             lead times and intervals set forth in the Extension Rule are
             neither arbitrary nor capricious. We take no position on
             whether EPA has reasonably mitigated the harm borne by
             obligated parties due to its delayed issuance of the 2020-2022
             standards. Nor do we opine on the lawfulness of EPA’s small
             refinery exemption policies and decisions. Rather, we hold
             simply that the Extension Rule’s compliance schedule is
             reasonable and reasonably explained.

                                            B.

                  That leaves the Refineries’ challenge to the Extension
             Rule’s future compliance schedule.            We refer to this
             component of the Rule as the Post-2022 Provision. It
             establishes that, beginning in 2023, the compliance deadline
             for each year will be the latest of (a) March 31 of the following
             calendar year; (b) the next quarterly reporting deadline after the
             effective date of the subsequent compliance year’s standards;
             or (c) the next quarterly reporting deadline after the compliance
             deadline for the prior compliance year. Extension Rule, 87
             Fed. Reg. at 5,700-01. In effect, this provision automatically
             extends obligated parties’ compliance reporting deadline for a
             given compliance year in the event EPA delays in publishing
             the renewable fuel standards for the following year, or if EPA
             extends the prior year’s compliance deadline.

                  The Refineries cast this provision as an “attempt to re-
             write the statute.” Pets. Br. 30. They argue that it “expressly
             anticipates” EPA may miss its statutory deadlines for issuing
             renewable fuel standards in 2023 and beyond, and therefore
             contravenes the Act. Id. at 31.

                  That argument breaks down on closer scrutiny. As an
             initial matter, the CAA does not set a deadline for EPA to
             publish the renewable fuel percentage standards beyond
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 28 of 31




                                           28
             2023. See 42 U.S.C. § 7545(o)(2)(B)(ii). Recall that, through
             2022, the Act requires EPA to publish the percentage standards
             for three categories of renewable fuel (total renewable fuel,
             advanced biofuel, and cellulosic biofuel) for a given
             compliance year “no later than November 30” of the preceding
             year. Id. § 7545(o)(2)(B)(i). But the Act is silent as to when
             EPA must publish those renewable fuel standards
             thereafter. See id. Instead, beginning in 2023, the Act requires
             EPA to publish the “applicable volumes” of renewable fuel—
             i.e., the minimum volumes of the relevant renewable fuel types
             that must be introduced into the U.S. fuel supply in a given
             year—“no later than 14 months before the first year for which
             such applicable volume will apply.” Id. § 7545(o)(2)(B)(ii)
             (emphasis added). The Refineries identify nothing in the
             Extension Rule that expressly anticipates EPA will fail to meet
             its statutory deadlines to publish those applicable volumes,
             negating the conflict they see between the Extension Rule and
             the Act’s text.

                   In any event, even assuming the Extension Rule could be
             read to anticipate that EPA will miss a statutorily prescribed
             deadline, the Refineries’ argument is foreclosed by our
             precedent. Because we have held that EPA may, under certain
             conditions, lawfully issue renewable fuel standards even after
             its statutory deadlines to do so, see ACE, 864 F.3d at 718-21,
             Monroe Energy, 750 F.3d at 919-20; Nat’l Petrochemical, 630
             F.3d at 154-58, the Post-2022 Provision does not contravene
             the Act by virtue of accounting for that possibility.

                  The Refineries next contend that the Post-2022 Provision
             conflicts with the CAA insofar as it enables EPA to provide
             less than the minimum compliance lead time that the Refineries
             claim the Act requires. However, to the extent the provision
             could result in a compression of obligated parties’ time to
             comply should EPA fail to timely issue the renewable fuel
USCA Case #22-1015     Document #2008338               Filed: 07/18/2023        Page 29 of 31




                                           29
             standards for a given year, that compression does not
             contravene the Act for the same reasons discussed in Part
             III.A.1 supra.

                  Finally, the Refineries argue that EPA failed to reasonably
             justify the post-2022 compliance schedule, rendering it
             arbitrary and capricious. They claim EPA’s sole justification
             for the automatic extension feature of the Post-2022 Provision
             is that it is necessary to “ensure that obligated parties know
             [next year’s] obligations before complying with [the current
             year’s] obligation.” Pets. Br. 32 (quoting Extension Rule, 87
             Fed. Reg. at 5,700). Because the compliance schedule they
             claim the statute requires “already achieves” that goal, they
             argue, EPA’s explanation is insufficient. Id.

                  The Refineries’ argument is belied by the record. The
             explanation they identify is not the only one EPA provided in
             support of the post-2022 compliance schedule. EPA also stated
             that it will provide greater “regulatory certainty for obligated
             parties” by establishing predetermined extensions for a given
             year’s compliance reporting deadline in the event obligated
             parties are still waiting on EPA to publish the next year’s
             renewable fuel standards. Extension Rule, 87 Fed. Reg. at
             5,701. And EPA justified the particular compliance intervals
             and lead times envisioned by the Post-2022 Provision based on
             its past experience. See RTC 41 (EPA Response) (J.A. 43).
             The Refineries offer no reason why those explanations are
             insufficient or otherwise unreasoned. See Pets Br. 30-32. We
             thus reject the Refineries’ challenge to the Extension Rule’s
             compliance timeline for 2023 onwards.

                                     * * *
                  For the foregoing reasons, we deny the petitions for
             review.
                                                          So ordered.
USCA Case #22-1015      Document #2008338                Filed: 07/18/2023        Page 30 of 31




                  RANDOLPH, Senior Circuit Judge, concurring in the
             judgment: We should have dismissed the Refineries’ petitions
             for judicial review for the same reasons we dismissed the
             petitions in Concerned Household Electricity Consumers
             Council v. Environmental Protection Agency, 2023 WL 3643436
             (D.C. Cir. May 25, 2023) (per curiam): the Refineries have
             failed to establish their standing to sue. See Sierra Club v. EPA,
             292 F.3d 895, 899–90 (D.C. Cir. 2002).

                  The traditional standing elements are injury-in-fact,
             causation, and redressability. “[U]nless standing is clear from
             the administrative record, the party must submit evidence to
             prove it.” Viasat, Inc. v. Fed. Commc’ns Comm’n, 47 F.4th 769,
             781 (D.C. Cir. 2022); Sierra Club, 292 F.3d at 899; D.C. Cir. R.
             28(a)(7) (codifying this requirement in our local rules). In this
             context as elsewhere, “barebones” statements do not suffice.
             Twin Rivers Paper Co. v. SEC, 934 F.3d 607, 613–14 (D.C. Cir.
             2019). To establish standing when it is not self-evident, the
             petitioner “may carry its burden of production by citing any
             record evidence relevant to its claim of standing and, if
             necessary, appending to its filing additional affidavits or other
             evidence sufficient to support its claim.” Sierra Club, 292 F.3d
             at 900–01.

                 That the Refineries are regulated by EPA’s extension rule
             does not make their standing self-evident. See, e.g., Am.
             Chemistry Council v. Dep’t of Transp., 468 F.3d 810, 813–15,
             819 (D.C. Cir. 2006). At best, the administrative record suggests
             one harm from EPA’s extension of compliance deadlines:
             increased RIN prices. See, e.g., Joint Appendix 7. But the
             Refineries have not shown that the extension or compression of
             compliance deadlines has caused an injury-in-fact – there is no
             evidence that RIN prices increased after EPA’s rulemaking and
             there is no evidence the Refineries purchased RINs at higher
             prices. Even if RIN prices increased, the Refineries have not
USCA Case #22-1015       Document #2008338                   Filed: 07/18/2023           Page 31 of 31




                                                2

             shown that EPA’s extension rule was the cause.1 See
             Competitive Enter. Inst. v. Fed. Commc’ns Comm’n, 970 F.3d
             372, 381–82, 385 (D.C. Cir. 2020). And even if the Refineries
             could show injury-in-fact and causation, they have not shown
             that setting EPA’s extension rule aside would remedy their
             harms.2

                  The majority opinion purports to identify an injury-in-fact
             from two sentences in the administrative record. See Maj. Op.
             13–14. But it was the Refineries’ burden to show injury and
             they have not done so. Sierra Club, 292 F.3d at 900; Twin
             Rivers, 934 F.3d at 613. That in itself “is a sufficient ground to
             dismiss . . . for lack of standing.” Concerned Household Elec.
             Consumers Council, 2023 WL 3643436, at *2. Moreover, the
             two assertions the majority invokes are in the nature of
             allegations made in comments on the extension rule. See Maj.
             Op. 14; Joint Appendix 14, 17. The statements are not backed
             up with evidence. Under Sierra Club and a long line of cases in
             this circuit, that is not sufficient to establish standing. 292 F. 3d
             at 898–901. To hold otherwise is to disregard those precedents.
             See Twin Rivers, 934 F.3d at 613 (collecting cases).


                     1
                       Counsel for the Refineries conceded this point, stating that
             the extension of the compliance deadlines did not increase RIN prices.
             Oral Argument at 2:47–50, Wynnewood Refining Company, LLC, et
             al. v. EPA, No. 22-1015 (consl. 22-1051, 22-1053) (“The thing that
             has caused RIN prices to rise is not the extension [rule].”).
                     2
                       If we set aside the extension rule, the Refineries would
             likely be immediately out of compliance with EPA’s requirements.
             Compare 40 C.F.R. § 80.1451(a) (Mar. 30, 2021), with 40 C.F.R.
             § 80.1451(f)(1)(i) (Jan. 31, 2022). As to redressability, all the
             majority opinion comes up with is the possibility that EPA might offer
             the Refineries some form of relief if their petitions for judicial review
             were granted. Maj. Op. 14–15.
